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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )              CASE NO. 8:13CR159
                                                )
                      Plaintiff,                )
                                                )
                                                )              TENTATIVE FINDINGS
               vs.                              )
                                                )
WADE SHIPPS,                                    )
                                                )
                      Defendant.                )


       The Court has received the Modified Presentence Investigation Report (PSR) regarding

the defendant, Wade Ships (Shipps). Neither the government nor Shipps has filed any

objections to the PSR. The Court advises the parties that these Tentative Findings are issued

with the understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       IT IS ORDERED:

       1.      The Court’s tentative findings are that the Modified Presentence Investigation

Report is correct in all respects.

       2.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings that adheres to the requirements of ¶ 8 of the Order on

Sentencing Schedule (Filing No. 75), supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary hearing

is requested, a statement describing why an evidentiary hearing is necessary and an estimated

length of time for the hearing.

       3.      Unless otherwise ordered, any motion challenging these tentative findings shall

be resolved at sentencing.
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      4.    If the parties require more than a half hour for sentencing, counsel must contact

Mary Beth McFarland by e-mail, Mary_Beth_McFarland@ned.uscourts.gov.



      DATED this 6th day of January, 2014.



                                         BY THE COURT:

                                         s/ Thomas D. Thalken
                                         United States Magistrate Judge




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